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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11       EMMA MAJO,                                       Case No. 21-cv-09054-LB
                                  12                     Plaintiff,
Northern District of California
 United States District Court




                                                                                            ORDER DISMISSING CASE
                                  13               v.

                                  14       SONY INTERACTIVE
                                           ENTERTAINMENT LLC,
                                  15
                                                         Defendant.
                                  16

                                  17         On April 21, 2022, the court dismissed the complaint with leave to amend, holding that some

                                  18   state claims survived but that the court lacked jurisdiction over the state claims because it

                                  19   dismissed the federal claim establishing federal-question jurisdiction. An amended complaint was

                                  20   due on May 19, 2022.1 No complaint was filed. Instead, on May 19, 2022, the plaintiff filed a case

                                  21   in San Mateo County Superior Court. Given those circumstances, the court dismisses the case

                                  22   without prejudice to pursuing the state claims in state court. The dismissal of the federal Fair

                                  23   Labor Standards Act claim is with prejudice.

                                  24         IT IS SO ORDERED.

                                  25         Dated: June 13, 2022                       ______________________________________
                                                                                        LAUREL BEELER
                                  26                                                    United States Magistrate Judge
                                  27

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                                           Order – ECF No. 35.

                                       ORDER – No. 21-cv-09054-LB
